
67 So. 3d 271 (2011)
CITY OF PALM BAY, Appellant,
v.
WELLS FARGO BANK, N.A., Appellee.
No. 5D09-1810.
District Court of Appeal of Florida, Fifth District.
March 25, 2011.
James D. Stokes, City Attorney, and Andrew P. Lannon, Deputy City Attorney, City of Palm Bay, for Appellant.
Tracy A. Mitchell and Keith Poliakoff of Becker &amp; Poliakoff, P.A., Amicus Curiae, Town of Southwest Ranches, Fort Lauderdale, for Appellant.
Matthew J. Conigliaro and Stephanie C. Zimmerman of Carlton Fields, P.A., St. Petersburg, and Michael K. Winston of Carlton Fields, P.A., West Palm Beach, for Appellee.
Prior report: 57 So. 3d 226.

ON MOTION FOR CERTIFICATION
PER CURIAM.
Upon consideration of Appellant's motion for certification, we grant same and certify the following rephrased question to the Florida Supreme Court as one of great public importance:
Whether, under Article VIII, section 2(b), Florida Constitution, section 166.021, Florida Statutes and Chapter 162, Florida Statutes, a municipality has the authority to enact an ordinance stating that its code enforcement liens, created pursuant to a code enforcement board order and recorded in the public records of the applicable county, shall be superior in dignity to prior recorded mortgages?
TORPY, EVANDER and COHEN, JJ., concur.
